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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION
 SPEECH FIRST, INC.,                                     §
                                                         §
               Plaintiff,                                §
                                                         §
 v.                                                      §   CIVIL ACTION NO. 1:18-cv-1078-LY
                                                         §
 GREGORY L. FENVES,                                      §
                                                         §
               Defendant.                                §

 DEFENDANT GREGORY L. FENVES’ OBJECTIONS TO THE DECLARATION OF
      NICOLE NEILY SUBMITTED BY PLAINTIFF IN SUPPORT OF ITS
              MOTION FOR PRELIMINARY INJUNCTION

        Defendant Gregory L. Fenves (“Defendant”) files these Objections to the Declaration of

Nicole Neily Submitted by Plaintiff in Support of Its Motion for Preliminary Injunction (“Motion”)

as follows:

                                         I.    LEGAL STANDARD

        1.        Evidence offered in support of an application for temporary injunctive relief is subject

to the standards articulated in the Federal Rules of Evidence. While the Fifth Circuit has determined

that the Federal Rules of Evidence may be applied less stringently at the preliminary injunction stage,

the trial court’s discretion to consider otherwise inadmissible evidence is not unfettered. Specifically,

the court must still engage in a thorough analysis and issue a decision that is supported by the record.

Sierra Club, Lone Star Chapter v. FDIC, 992 F.2d 545, 551 (5th Cir. 1993). Further, the court should

only consider inadmissible evidence “in order to serve the primary purpose of preventing irreparable

harm before a trial can be held….” Fed. Savings & Loan Ins. Corp. v. Dixon, 835 F.2d 554, 558 (5th Cir.

1987). In accordance with this standard, courts have declined to issue temporary injunctions that are

supported by otherwise inadmissible evidence. See Jones v. Am. Council on Exercise, Civil Action No. H-

15-3270, 2017 U.S. Dist. LEXIS 36632, at *4 (S.D. Tex. Mar. 15, 2017) (sustaining objections to
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evidence offered in support of application for preliminary injunction, despite recognizing that courts

give “some leniency” in evidentiary rulings at the preliminary injunction stage); Rosen Entm’t Sys. v.

Vision, 343 F. Supp. 2d 908, 912–13 (C.D. Cal. 2004) (sustaining evidentiary objections in preliminary

injunction context despite recognizing court’s discretion to consider otherwise inadmissible evidence);

Nano-Second Tech. Co. v. Dynaflex, Int’l, CV 10-9176 RSWL (MANx), 2011 U.S. Dist. LEXIS 111836, at

*3–5 (C.D. Cal. Sept. 28, 2011) (sustaining objections to evidence offered in support of motion for

preliminary injunctive relief).

        2.       Accordingly, Defendant makes the following objections to the Declaration of Nicole

Neily, which was submitted by Plaintiff in support of its Motion for Preliminary Injunction:

                                  II.   OBJECTIONS TO EVIDENCE

                       TESTIMONY                  OBJECTION             EXPLANATION
 Objection       “Speech First’s members          Lacks       Witness does not testify about the
 No. 1           hold a wide array of             foundation  basis for her conclusory testimony
                 different views and                          regarding the beliefs of unidentified
                 opinions on matters such                     third parties. See X17, Inc. v.
                 as politics, race, religion,                 Lavandeira, No. CV 06-7608-
                 gender identity, abortion,                   VBF(JCx), 2007 U.S. Dist. LEXIS
                 gun rights, immigration,                     17279, at *9–10 (C.D. Cal. Mar. 6,
                 foreign affairs, and                         2007) (sustaining an objection to
                 countless other sensitive                    evidence in support of a preliminary
                 and controversial topics. ”                  injunction where the witness lacked
                 ¶ 6.                                         personal knowledge); Nano-Second Tech.
                                                              Co., 2011 U.S. Dist. LEXIS 111836, at
                                                              *3–5 (sustaining objections as to lack
                                                              of foundation in preliminary
                                                              injunction context); Fed. R. Evid.
                                                              601–02.
 Objection       “Speech First’s members          Calls for   Witness speculates about the beliefs of
 No. 2           hold a wide array of             speculation unidentified third parties without
                 different views and                          providing a basis for her testimony.
                 opinions on matters such                     See X17, Inc. v. Lavandeira, No. CV 06-
                 as politics, race, religion,                 7608-VBF(JCx), 2007 U.S. Dist.
                 gender identity, abortion,                   LEXIS 17279, at *9–10 (C.D. Cal.
                 gun rights, immigration,                     Mar. 6, 2007) (sustaining an objection
                 foreign affairs, and                         to evidence in support of a
                 countless other sensitive                    preliminary injunction where the

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                       TESTIMONY                  OBJECTION                   EXPLANATION
                 and controversial topics. ”                       witness lacked personal knowledge);
                 ¶ 6.                                              Fed. R. Evid. 601–02.
 Objection       “Speech First’s members          Hearsay          Witness relies upon beliefs held and
 No. 3           hold a wide array of                              statements made by unidentified third
                 different views and                               parties, and offers these statements for
                 opinions on matters such                          the truth of the matters asserted. See
                 as politics, race, religion,                      A.A. v. Raymond, No. 2:13-cv-01167-
                 gender identity, abortion,                        KJM-EFB, 2013 U.S. Dist. LEXIS
                 gun rights, immigration,                          102459, at *19–20 (E.D. Cal. July 22,
                 foreign affairs, and                              2013) (sustaining objections to hearsay
                 countless other sensitive                         in the preliminary injunction context);
                 and controversial topics. ”                       Jones, 2017 U.S. Dist. LEXIS 36632, at
                 ¶ 6.                                              *4 (sustaining objections to hearsay in
                                                                   the preliminary injunction context);
                                                                   X17, Inc., 2007 U.S. Dist. LEXIS
                                                                   17279, at *8–9 (refusing to consider
                                                                   hearsay evidence in the preliminary
                                                                   injunction context); Fed. R. Evid. 801.
 Objection       “Speech First’s members          Anonymity of     Witness does not disclose the identity
 No. 4           hold a wide array of             Speech First’s   of the members holding the views and
                 different views and              members          opinions about which Witness
                 opinions on matters such                          testifies. See S. Methodist Univ. Ass’n of
                 as politics, race, religion,                      Women Law Students v. Wynne & Jaffe,
                 gender identity, abortion,                        599 F.2d 707, 713 (5th Cir. 1979)
                 gun rights, immigration,                          (ordering disclosure of plaintiffs’
                 foreign affairs, and                              identities absent a compelling need to
                 countless other sensitive                         “protect privacy in a very private
                 and controversial topics. ”                       matter”); Rose v. Beaumont Indep. Sch.
                 ¶ 6.                                              Dist., 240 F.R.D. 264, 269 (E.D. Tex.
                                                                   2007) (denying motion for leave to
                                                                   proceed under fictitious name); Jane
                                                                   Doe 1 v. Merten, 219 F.R.D. 387, 396
                                                                   (E.D. Va. 2004) (denying motion for
                                                                   leave to proceed under fictitious
                                                                   names in students’ case against
                                                                   university officials challenging
                                                                   immigration policies).
 Objection       “Speech First’s members at       Lacks            Witness does not testify about the
 No. 5           the University want to be        foundation       basis for her conclusory testimony
                 able to have open and                             regarding the desires of unidentified
                 robust intellectual debates                       third parties. See X17, Inc., 2007 U.S.
                 and discussions about                             Dist. LEXIS 17279, at *9–10
                 these issues in their                             (sustaining an objection to evidence in
                 dormitories, on campus,                           support of a preliminary injunction
                                                                   where the witness lacked personal
                                                                   knowledge); Nano-Second Tech. Co.,
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                       TESTIMONY                  OBJECTION                  EXPLANATION
                 online, and in the City of                        2011 U.S. Dist. LEXIS 111836, at *3–
                 Austin.” ¶ 7.                                     5 (sustaining objections as to lack of
                                                                   foundation in preliminary injunction
                                                                   context); Fed. R. Evid. 601–02.
 Objection       “Speech First’s members at       Calls for        Witness speculates about the desires
 No. 6           the University want to be        speculation      of unidentified third parties without
                 able to have open and                             providing a basis for her testimony.
                 robust intellectual debates                       See X17, Inc., 2007 U.S. Dist. LEXIS
                 and discussions about                             17279, at *9–10 (sustaining an
                 these issues in their                             objection to evidence in support of a
                 dormitories, on campus,                           preliminary injunction where the
                 online, and in the City of                        witness lacked personal knowledge);
                 Austin.” ¶ 7.                                     Fed. R. Evid. 601–02.

 Objection       “Speech First’s members at       Hearsay          Witness relies upon desires held and
 No. 7           the University want to be                         statements made by unidentified third
                 able to have open and                             parties, and offers these statements for
                 robust intellectual debates                       the truth of the matters asserted. See
                 and discussions about                             A.A. v. Raymond, No. 2:13-cv-01167-
                 these issues in their                             KJM-EFB, 2013 U.S. Dist. LEXIS
                 dormitories, on campus,                           102459, at *19–20 (E.D. Cal. July 22,
                 online, and in the City of                        2013) (sustaining objections to hearsay
                 Austin.” ¶ 7.                                     in the preliminary injunction context);
                                                                   Jones, 2017 U.S. Dist. LEXIS 36632, at
                                                                   *4 (sustaining objections to hearsay in
                                                                   the preliminary injunction context);
                                                                   X17, Inc., 2007 U.S. Dist. LEXIS
                                                                   17279, at *8–9 (refusing to consider
                                                                   hearsay evidence in the preliminary
                                                                   injunction context); Fed. R. Evid. 801.
 Objection       “Speech First’s members at       Anonymity of     Witness does not disclose the identity
 No. 8           the University want to be        Speech First’s   of the members holding the views and
                 able to have open and            members          opinions about which Witness
                 robust intellectual debates                       testifies. See S. Methodist Univ. Ass’n of
                 and discussions about                             Women Law Students, 599 F.2d at 713
                 these issues in their                             (ordering disclosure of plaintiffs’
                 dormitories, on campus,                           identities absent a compelling need to
                 online, and in the City of                        “protect privacy in a very private
                 Austin.” ¶ 7.                                     matter”); Rose, 240 F.R.D. at 269
                                                                   (denying motion for leave to proceed
                                                                   under fictitious name); Merten, 219
                                                                   F.R.D. at 396 (denying motion for
                                                                   leave to proceed under fictitious
                                                                   names in students’ case against
                                                                   university officials challenging
                                                                   immigration policies).
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                       TESTIMONY                   OBJECTION            EXPLANATION
 Objection       “Yet Speech First’s               Lacks      Witness does not testify about the
 No. 9           members are afraid to             foundation basis for her conclusory testimony
                 voice their views out of                     regarding the fears of unidentified
                 fear that their speech may                   third parties. See X17, Inc, 2007 U.S.
                 be considered ‘offensive,’                   Dist. LEXIS 17279, at *9–10
                 ‘biased,’ ‘rude,’ ‘uncivil,’ or              (sustaining an objection to evidence in
                 ‘harassing,’ under the                       support of a preliminary injunction
                 Institutional Rules, the                     where the witness lacked personal
                 Acceptable Use Policy, and                   knowledge); Nano-Second Tech. Co.,
                 the Residence Hall                           2011 U.S. Dist. LEXIS 111836, at *3–
                 Manual.” ¶ 8.                                5 (sustaining objections as to lack of
                                                              foundation in preliminary injunction
                                                              context); Fed. R. Evid. 601–02.


 Objection       “Yet Speech First’s               Calls for        Witness speculates about the fears of
 No. 10          members are afraid to             speculation      unidentified third parties without
                 voice their views out of                           providing a basis for her testimony.
                 fear that their speech may                         See X17, Inc, 2007 U.S. Dist. LEXIS
                 be considered ‘offensive,’                         17279, at *9–10 (sustaining an
                 ‘biased,’ ‘rude,’ ‘uncivil,’ or                    objection to evidence in support of a
                 ‘harassing,’ under the                             preliminary injunction where the
                 Institutional Rules, the                           witness lacked personal knowledge);
                 Acceptable Use Policy, and                         Fed. R. Evid. 601–02.
                 the Residence Hall
                 Manual.” ¶ 8.

 Objection       “Yet Speech First’s               Hearsay          Witness relies upon fears held and
 No. 11          members are afraid to                              statements made by unidentified third
                 voice their views out of                           parties, and offers these statements for
                 fear that their speech may                         the truth of the matters asserted. See
                 be considered ‘offensive,’                         Raymond, 2013 U.S. Dist. LEXIS
                 ‘biased,’ ‘rude,’ ‘uncivil,’ or                    102459, at *19–20 (sustaining
                 ‘harassing,’ under the                             objections to hearsay in the
                 Institutional Rules, the                           preliminary injunction context); Jones,
                 Acceptable Use Policy, and                         2017 U.S. Dist. LEXIS 36632, at *4
                 the Residence Hall                                 (sustaining objections to hearsay in the
                 Manual.” ¶ 8.                                      preliminary injunction context); X17,
                                                                    Inc., 2007 U.S. Dist. LEXIS 17279, at
                                                                    *8–9 (refusing to consider hearsay
                                                                    evidence in the preliminary injunction
                                                                    context); Fed. R. Evid. 801.
 Objection       “Yet Speech First’s               Anonymity of     Witness does not disclose the identity
 No. 12          members are afraid to             Speech First’s   of the members holding the views and
                 voice their views out of          members          opinions about which Witness
                 fear that their speech may                         testifies. See S. Methodist Univ. Ass’n of

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                       TESTIMONY                   OBJECTION              EXPLANATION
                 be considered ‘offensive,’                    Women Law Students, 599 F.2d at 713
                 ‘biased,’ ‘rude,’ ‘uncivil,’ or               (ordering disclosure of plaintiffs’
                 ‘harassing,’ under the                        identities absent a compelling need to
                 Institutional Rules, the                      “protect privacy in a very private
                 Acceptable Use Policy, and                    matter”); Rose, 240 F.R.D. at 269
                 the Residence Hall                            (denying motion for leave to proceed
                 Manual.” ¶ 8.                                 under fictitious name); Merten, 219
                                                               F.R.D. at 396 (denying motion for
                                                               leave to proceed under fictitious
                                                               names in students’ case against
                                                               university officials challenging
                                                               immigration policies).
 Objection       “Speech First’s members     Lacks             Witness does not testify about the
 No. 13          fear that they will be      foundation        basis for her conclusory testimony
                 investigated or punished by                   regarding the fears of unidentified
                 the University for engaging                   third parties. See X17, Inc., 2007 U.S.
                 in speech or expression                       Dist. LEXIS 17279, at *9–10
                 that is protected by the                      (sustaining an objection to evidence in
                 First Amendment.” ¶ 8.                        support of a preliminary injunction
                                                               where the witness lacked personal
                                                               knowledge); Nano-Second Tech. Co.,
                                                               2011 U.S. Dist. LEXIS 111836, at *3–
                                                               5 (sustaining objections as to lack of
                                                               foundation in preliminary injunction
                                                               context); Fed. R. Evid. 601–02.
 Objection       “Speech First’s members     Calls for         Witness speculates about the fears of
 No. 14          fear that they will be      speculation       unidentified third parties without
                 investigated or punished by                   providing a basis for her testimony.
                 the University for engaging                   See X17, Inc., 2007 U.S. Dist. LEXIS
                 in speech or expression                       17279, at *9–10 (sustaining an
                 that is protected by the                      objection to evidence in support of a
                 First Amendment.” ¶ 8.                        preliminary injunction where the
                                                               witness lacked personal knowledge);
                                                               Fed. R. Evid. 601–02.
 Objection       “Speech First’s members     Hearsay           Witness relies upon fears held and
 No. 15          fear that they will be                        statements made by unidentified third
                 investigated or punished by                   parties, and offers these statements for
                 the University for engaging                   the truth of the matters asserted. See
                 in speech or expression                       Raymond, 2013 U.S. Dist. LEXIS
                 that is protected by the                      102459, at *19–20 (sustaining
                 First Amendment.” ¶ 8.                        objections to hearsay in the
                                                               preliminary injunction context); Jones,
                                                               2017 U.S. Dist. LEXIS 36632, at *4
                                                               (sustaining objections to hearsay in the
                                                               preliminary injunction context); X17,
                                                               Inc., 2007 U.S. Dist. LEXIS 17279, at
                                                         6
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                       TESTIMONY                   OBJECTION                EXPLANATION
                                                                 *8–9 (refusing to consider hearsay
                                                                 evidence in the preliminary injunction
                                                                 context); Fed. R. Evid. 801.
 Objection       “Speech First’s members     Anonymity of        Witness does not disclose the identity
 No. 16          fear that they will be      Speech First’s      of the members holding the views and
                 investigated or punished by members             opinions about which Witness
                 the University for engaging                     testifies. See S. Methodist Univ. Ass’n of
                 in speech or expression                         Women Law Students, 599 F.2d at 713
                 that is protected by the                        (ordering disclosure of plaintiffs’
                 First Amendment.” ¶ 8.                          identities absent a compelling need to
                                                                 “protect privacy in a very private
                                                                 matter”); Rose, 240 F.R.D. at 269
                                                                 (denying motion for leave to proceed
                                                                 under fictitious name); Merten, 219
                                                                 F.R.D. at 396 (denying motion for
                                                                 leave to proceed under fictitious
                                                                 names in students’ case against
                                                                 university officials challenging
                                                                 immigration policies).
 Objection       “Speech First has brought         Lacks         Witness does not offer any support
 No. 17          this suit to ensure that its      foundation    for her conclusory statements and
                 members and other                               speculates about future punishment.
                 students at the University                      See X17, Inc., 2007 U.S. Dist. LEXIS
                 will not face investigations                    17279, at *9–10 (sustaining an
                 or discipline for engaging                      objection to evidence in support of a
                 in the open and vigorous                        preliminary injunction where the
                 exchange of ideas that is at                    witness lacked personal knowledge);
                 the core of the First                           Nano-Second Tech. Co., 2011 U.S. Dist.
                 Amendment merely                                LEXIS 111836, at *3–5 (sustaining
                 because a University                            objections as to lack of foundation in
                 official or another student                     preliminary injunction context); Fed.
                 finds their views                               R. Evid. 601–02.
                 ‘offensive,’ ‘biased,’ ‘rude,’
                 ‘uncivil,’ or ‘harassing[.]’” ¶
                 9.

 Objection       “Speech First has brought         Calls for     Witness does not offer any support
 No. 18          this suit to ensure that its      speculation   for her conclusory statements and
                 members and other                               speculates about future punishment.
                 students at the University                      See X17, Inc., 2007 U.S. Dist. LEXIS
                 will not face investigations                    17279, at *9–10 (sustaining an
                 or discipline for engaging                      objection to evidence in support of a
                 in the open and vigorous                        preliminary injunction where the
                 exchange of ideas that is at                    witness lacked personal knowledge);
                 the core of the First                           Fed. R. Evid. 601–02.
                 Amendment merely
                                                         7
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                        TESTIMONY                  OBJECTION                  EXPLANATION
                 because a University
                 official or another student
                 finds their views
                 ‘offensive,’ ‘biased,’ ‘rude,’
                 ‘uncivil,’ or ‘harassing[.]’” ¶
                 9.

 Objection       “Speech First has brought         Anonymity of     Witness does not disclose the identity
 No. 19          this suit to ensure that its      Speech First’s   of the members holding the views and
                 members and other                 members          opinions about which Witness
                 students at the University                         testifies. See S. Methodist Univ. Ass’n of
                 will not face investigations                       Women Law Students, 599 F.2d at 713
                 or discipline for engaging                         (ordering disclosure of plaintiffs’
                 in the open and vigorous                           identities absent a compelling need to
                 exchange of ideas that is at                       “protect privacy in a very private
                 the core of the First                              matter”); Rose, 240 F.R.D. at 269
                 Amendment merely                                   (denying motion for leave to proceed
                 because a University                               under fictitious name); Merten, 219
                 official or another student                        F.R.D. at 396 (denying motion for
                 finds their views                                  leave to proceed under fictitious
                 ‘offensive,’ ‘biased,’ ‘rude,’                     names in students’ case against
                 ‘uncivil,’ or ‘harassing[.]’” ¶                    university officials challenging
                 9.                                                 immigration policies).



                                          III.     CONCLUSION

        3.       Defendant respectfully requests that the Court sustain these objections, deem the

Declaration of Nicole Neily inadmissible and omit such evidence from its consideration of Plaintiff’s

Motion for Preliminary Injunction, and grant Defendant such other and further relief, at law or in

equity, to which Defendant may be justly entitled.




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Dated: January 28, 2019                                       Respectfully submitted,



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                                     CERTIFICATE OF SERVICE

        This is to certify that on January 28, 2019, a copy of the foregoing was electronically filed
with the Clerk of the Court using the ECF system which will send notification of such filing to the
following:

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                                                         /s/ Charles L. Babcock
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